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 1   Lee M. Weinberg (Cal. SBN 131567)
 2   lee@weinberg-gonser.com
     Shanen R. Prout, of counsel (Cal. SBN 236137)
 3   shanen@weinberg-gonser.com
 4   Bryan B. Bitzer (Cal. SBN 324301)
     bryan@weinberg-gonser.com
 5   WEINBERG GONSER LLP
 6   10866 Wilshire Blvd., Suite 1650
     Los Angeles, CA 90024
 7   Phone: (424) 239-2850
 8

 9   Attorneys for Plaintiff
     ARYA TOUFANIAN
10

11                             UNITED STATES DISTRICT COURT
12               CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
13

14    ARYA TOUFANIAN, an individual,                Case No.: CV 19-7934-DMG (SSx)
15          Plaintiff,                              Assigned to the Hon. Dolly M. Gee
16                                                  Courtroom 8C
            v.
17                                                  JOINT STIPULATION TO
18    KYLE OREFFICE, an individual; GIVE            FILING OF FIRST AMENDED
      BACK MEDIA, LLC, a Georgia limited            COMPLAINT
19    liability company; and DOES 1-10,
20                                                  Case filed: September 12, 2019
                                                    Trial: none set
21          Defendants.
22

23

24          Plaintiff Arya Toufanian and Defendants Kyle Oreffice and Give Back Media,
25   LLC, by and through their undersigned counsel of record, hereby make the following
26   joint stipulation based on the following agreed facts:
27         WHEREAS, after denying Defendants’ special motion to strike Plaintiff’s
28   original complaint, on September 16, 2020, the Court ordered Defendants to respond to
                                             -1-
                  JOINT STIPULATION TO FILING OF FIRST AMENDED COMPLAINT
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 1
     the complaint by October;
 2
            WHEREAS, on September 29, counsel for the parties met and conferred
 3
     telephonically to discuss thoroughly Defendants’ plans to file a motion to dismiss all
 4
     three claims in the original complaint under the Federal Rules of Civil Procedure
 5
     (FRCP), rule 12(b)(6);
 6
            WHEREAS, on October 6, the parties filed a stipulation to extend the time for
 7
     Defendants to respond to the original complaint, which the Court approved on October
 8
     7; and,
 9
            WHEREAS, on October 15, Plaintiff inadvertently filed a First Amended
10
     Complaint (FAC) [Doc. # 33] in lieu of the parties litigating the motion to dismiss,
11
     under the mistaken belief that the parties had already filed a stipulation agreeing to
12
     Plaintiff filing the FAC.
13
            NOW, THEREFORE, under FRCP rule 15(a)(2), by and through their counsel of
14
     record, Plaintiff and Defendants hereby stipulate retroactively to approve of the filing of
15
     the FAC. Plaintiff and Defendants also acknowledge and stipulate that Defendants have
16
     been served with a copy of the FAC and that Defendants have until October 29, 2020 to
17
     respond to the FAC.
18

19   IT IS SO STIPULATED:
20

21    Dated: October 19, 2020                          WEINBERG GONSER LLP
22
      Pursuant to Local Rule 5-                        /s/ Shanen R. Prout
23    4.3.4(a)(2)(i), I certify that all other   By:
      signatories listed below, and on                 Lee M. Weinberg
24
      whose behalf this filing is                      Shanen R. Prout
25    submitted, concurred in the filing’s             Bryan B. Bitzer
      content and have authorized it.                  Attorneys for Plaintiff Arya
26
                                                       Toufanian
27

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                 JOINT STIPULATION TO FILING OF FIRST AMENDED COMPLAINT
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 1   Dated: October 19, 2020                   TAULER SMITH LLP
 2                                             /s/ Robert Tauler
                                         By:
 3                                             Robert Tauler
 4                                             Valerie Saryan
                                               Attorneys for Defendants Kyle Oreffice
 5                                             and Give Back Media, LLC
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              JOINT STIPULATION TO FILING OF FIRST AMENDED COMPLAINT
